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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 22-CV-23120-KMM

 WINDY LUCIUS,

           Plaintiff,
 v.

 EL CAMINO DELRAY, LLC.

       Defendant.
 ________________________________________/

                                   NOTICE OF SETTLEMENT

           COMES NOW, Plaintiff, WINDY LUCIUS, by and through the undersigned counsel,

 hereby notifies the Court that the Parties have reached an agreement in principle that resolves all

 claims that were or could have been brought in this action and are in the process of working on the

 Settlement Agreement. The Parties request that the Court stay all matters and pending deadlines

 in this action and grant the Parties sixty (60) days to finalize their written Settlement Agreement

 and to submit the appropriate notices and/or stipulations to the Court regarding dismissal of the

 Action.

           Respectfully submitted on this October 6, 2022.
                                               By: /s/ J. Courtney Cunningham
                                               J. Courtney Cunningham, Esq.
                                               FBN: 628166




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                                                                         Lucius v. El Camino Delray
                                                                        Case No. 22-cv-23120-KMM

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 6, 2022, an electronic copy of the foregoing

 document was filed with the Clerk of Court using the CM/ECF system which will send notice of

 electronic filing to all parties and Counsel of record.

                                                By: /s/ J. Courtney Cunningham
                                                J. Courtney Cunningham, Esq.
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